   Case 3:15-cr-00240-MHT-CSC Document 137 Filed 08/12/20 Page 1 of 4




  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, EASTERN DIVISION


UNITED STATES OF AMERICA             )
                                     )        CRIMINAL ACTION NO.
       v.                            )           3:15cr240-MHT
                                     )
STEPHEN HOWARD                       )

                                ORDER

       Upon further consideration of the testimony given

during the hearing yesterday and of the government’s

prehearing    brief    (doc.    no.      133),   the    court    realized

that     certain   allegations           in   the   brief       were     not

reflected in the Presentence Investigation Report (doc.

no. 72).

       Accordingly, by 9:00 a.m. on August 13, 2020, the

government     shall     file    a       response      to   this       order

pinpointing    which     documents        and/or    evidence       in    the

record support the following statements:

       (1) The use of the word “victims” in the following

sentence: “Howard said that the undercover agent should

give his victims no more than one-half teaspoon of the

substance at a time.”           Government’s Pre-Hearing Brief
   Case 3:15-cr-00240-MHT-CSC Document 137 Filed 08/12/20 Page 2 of 4




(doc. no. 133) at 6.

    (2) “Howard assured the undercover agent that, if

appropriate quantities of 1,4-butanediol are consumed,

the substance would ‘make girls horny.’”                 Id. at 7.

    (3) “While sitting in the booth, Howard and the

undercover     agent       discussed     future        business    plans.

Howard offered to sell the undercover agent 5-gallon

quantities    going       forward.     The   undercover       agent     then

asked    Howard     about       the    physiological          effects     of

ingesting    1,4-butanediol.          Howard    told    the    undercover

agent that, after a person consumes 1,4-butanediol, the

liver    coverts    the    substance     into    GHB.    Thereafter,       a

person gets high off of the GHB in his or her body.

Howard    described       the   resulting      high    as   leaving      the

person in a ‘no inhibitions mood.’ According to Howard,

the high lasts about four hours. Howard stated that a

person      could      easily         pass      out     after      taking

1,4-butanediol, and, while the person was passed out,

anything could be done to him or her. Howard offered as

examples of conduct that could be done to a person
   Case 3:15-cr-00240-MHT-CSC Document 137 Filed 08/12/20 Page 3 of 4




passed     out    after       taking       1,4-butanediol:          physical

assault, hanging the person upside down, and throwing

the person into the street. Howard recounted in detail

women who had passed out after taking 1,4-butanediol

Howard had provided. Howard also acknowledged that he

himself had passed out after using the substance.” Id.

at 7-8.

    (4) “Howard went on, telling the undercover agent

that he (Howard) sold 1,4-butanediol to all types of

people....” (Emphasis added.) Id. at 8.

    (5) “Before the conversation in the vehicle ended,

Howard    asked    the    undercover           agent    about     whether   a

specific    female     was    a    student      at     Auburn    University.

Howard also invited the undercover agent to come and

‘hang out’ at Howard’s residence. Howard instructed the

undercover agent to bring girls with him when he came.

Howard     assured      him       that    he     (Howard)        would   have

1,4-butanediol and marijuana for them to use. Howard

stated    that    he   would       even    smoke       methamphetamine      if

someone    had    it.     Howard         speculated       that     he    could
   Case 3:15-cr-00240-MHT-CSC Document 137 Filed 08/12/20 Page 4 of 4




probably manufacture methamphetamine, but was afraid to

do so.”   Id. at 9.

    DONE, this the 12th day of August, 2020.

                                   /s/ Myron H. Thompson_____
                                 UNITED STATES DISTRICT JUDGE
